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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

______________________________________
                                            )
DENNIS PALKON, derivatively, on behalf of )             Master Case No. 2:13 cv 05010 SM SS
of CENTURYLINK, INC.,                       )
                                            )           (Consolidated with 2:13 cv 05414 SM DEK)
                         Plaintiff,         )
                                            )
v.                                          )
                                            )
GLEN F. POST, III, et al.,                  )
                                            )
                         Defendants.        )
                                            )
and                                         )
                                            )
CENTURYLINK, INC.,                          )
                                            )
                         Nominal Defendant. )
______________________________________ )

                    ORDER ON JOINT MOTION TO TRANSFER VENUE

         Considering the foregoing Joint Motion to Transfer Venue Under 28 U.S.C.§ 1404(a) to

the U.S. District Court for the Western District of Louisiana, filed on behalf of all parties in the

above captioned cases:

         IT IS HEREBY ORDERED that the Joint Motion to Transfer Venue is GRANTED,

and the above captioned, consolidated actions are transferred to the Monroe Division of the U.S.

District Court for the Western District of Louisiana.

         The Clerk of the Court is further directed to transfer these actions to the Monroe Division

of the U.S. District Court for the Western District of Louisiana and to close the cases.
                Hello This is a Test
         New Orleans, Louisiana, this ______             May
                                       20th day of _________________ 2014.


                                                   ____________________________________
                                                      UNITED STATES DISTRICT JUDGE



{N2820754.1}
